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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                              )
EXXON MOBIL CORPORATION,                      )
                                              )
                         Plaintiff,           )
                                              )
                    v.                        )      Civil Action Nos. H-10-2386 (LHR)
                                              )                        H-11-1814 (LHR)
UNITED STATES OF AMERICA,                     )
                                              )
                         Defendant.           )
                                              )


        NOTICE OF FILING CORRECTED MATERIALS IN SUPPORT OF
   PLAINTIFF EXXON MOBIL CORPORATION’S RESPONSE IN OPPOSITION TO
    THE UNITED STATES’ MOTION FOR PARTIAL SUMMARY JUDGMENT ON
                          PHASE TWO ISSUES


         On March 23, 2018, Plaintiff Exxon Mobil Corporation (“Exxon”) filed its Response in

Opposition to the United States’ Motion for Partial Summary Judgment on Phase Two Issues in

the above-captioned cases (Docket No. 209 in Case No. 10-2386, and Docket No. 140 in Case No.

11-1814). In the course of reviewing its pleadings, Exxon discovered text in the Declaration of

Mr. Richard Lane White (Exhibit 22) that should have been omitted. Exxon is therefore filing a

corrected Exhibit 22, which is attached to this Notice.




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Dated: May 16, 2018                  Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 16th day of May, 2018, I served the foregoing to Defendant

United States of America via the Court’s ECF service upon the following counsel for Defendant:

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